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                         LINITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                   INDICTMENT
                     'Plaintiff;
                                                   l8 U,S.C. $ 922(gXl)
       V.                                          18 U.S.c. $ e2a@)Q)
                                                   l8 u.s.c. $ e24(dxl)
WILLIAM HOWARD PROTO,              JR.,            2l u.S.C. $ 841(a)(1)
                                                   21 u.S.C. $ S41(bX1XA)
                     Defendant,                    2l u.s.c. $ 8s3
                                                   28 U.S.C. $ 2a6l(c)



THE I.INITED STATES GRAND JURY CHARGES THAT:
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                                      COUNT 1
            (Possession with Intent To Distribute a Controlled Substance)
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      On or about June 29,2021, in the State and District of Minnesota, the defendant,

                         WILLIAM HOWARD PROTO, JR.,

did knowingly and intentionally possess with intent to distribute a controlled Substance,

namely, 500 grams or more of a mixture and substance containing a detectable amount          of

methamphetamine, in violation of Title 21, United States Code, Sections 8a1(a)(1) and

841(b)(rXA).

                                       COUNT 2
                           (Felon in Possession of a Firearm)

      On or about J:une 29, 2021, in the State and District of Minnesota, the defendant,

                         WILLIAM HOWARD PROTO, JR.,

having previously been convicted of the following felony crimes, each of which was

punishable by imprisonment for a term exceeding one year,
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                                                                              AUE 1 L 2021
                                                                           U,S. DISTRICT COUHT MPLS
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United States v. Proto



                                                                           Date of Conviction
                         Crime                           Jurisdiction         (in or about)
    I't Degree Sale of Controlled Substance             Dakota County           July 2000
  Prohibited Person in Possession of Firearm            Dakota County           July 2000
  Prohibited Person in Possession of Firearm            Dakota County        September 2008

  Prohibited Person in Possession of Firearm            Dakota County           Ilune 2012

     Criminal Vehibular Operation - Under
                                                        Ramsey County        November 2012
      Influence of Controlled Substance
  Prohibited Person in Possession of Firearm            Ramsey County          June 2016


and knowing he had been convicted            of at least one crime   punishable   by a term of

impriSonment exceeding one year, knowingly possessed,              in and affecting interstate
commerce, a Ruger SP101 .357 Magnum revolver (serial number 572-97805), in violation

of Title 18, United States Code, Sections 922(9Q) and924(a)(2).

                                 FORFEITURE ALLEGATIONS                                           I
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         Counts 1 and 2 of this Indictment are hereby realleged and incorporated as if fully
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set forth herein, for the purpose of alleging forfeithres.

         If   convicted of Count 1 of the Indictment, the defendant shall forfeit to the United
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States, pursuant to      Title 21, lJnited States Code, Section 853(a)(1) and (2), dny property

constituting, or derived from, any proceeds obtained, directly or indirectly, as a rebult of

such offense and any property used, or intended to be used,          in any manner or part, to

commit, or to facilitate'the' commission of that offense, including but not limited to

approximately $56,956.00 in IJ.S. currency and a Ruger           SPl0l   .357 Magnum revolver

(serial number 572-97805), both located in the defendant's vehicle in connection with his

arrest on June 29,202I.




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United States v. Proto                                                                               I
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         If   convicted-of Count 2 of this Indictment, the defendant shall forfeit toihe United      t
                                                                                                    't

States any firearms, accessories and ammunition involved in or used in connection with              IT




the violation includi4g, but not limited to a Ruger      SPl0l .357 Magnum revolver      (serial

number 572-97805), purSuant to.Title 18, United States Code, Section 924(d)Q), And

Title 28, United Statbs Code, Section 2461(c).

        If    any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

2l,United      States Codb, Section 853(p).

                                          A TRUE BILL



ACTING UNITED STATES ATTORNEY                        FOREPERSON




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